¢

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Main Document Page 1 of 10

David K. Gottlieb

17000 Ventura Blvd

Suite 300

Encino, CA 91316

Telephone: (818) 539-7720
Email: dgottlieb@dkgalle.com

Chapter 7 Trustee

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
SAN FERNANDO VALLEY
In re Case No.: 1:13-bk-15929-MB

KSL MEDIA INC Chapter 7

Debtor(s). (FRBP 3011)

— eS SS SS

TO THE CLERK OF THE UNITED STATES BANKRUPTCY COURT:

unclaimed dividend is attached.

Dated: /, 16/19

Desc

NOTICE OF UNCLAIMED DIVIDEND(S)

Please find annexed hereto Check No. 54977, in the sum of $391,020.15, representing
the total amount of unclaimed dividend(s) in the above-entitled debtor’s estate which will create
a zero balance in the bank account. Said sum is paid over to you pursuant to Bankruptcy Rule

3011. A list of the name(s), address(es), and amount(s) to be paid each person entitled to said
Main Document

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Claim No

Claimant

Allowed
Amount

Amount

22

Eventful

12626 High Bluff Dr
Ste 100

San Diego , CA 92130

$119,398.29

$2,275.44

28

Journal Communications
Dba Journal Broadcast
333 West State St
Milwaukee , WI 53201

$65,620.00

$21,920.35

3

Curacao Tourist Board

C/O Brooks C Miller Pa

200 S Discayne Blvd Ste 4300
Miami , FL 33131

$57,356.83

$1,093.09

44

Federated Media

421 S$ 2Nd St

Po Box 487

Elkhart , IN 46515-0487

$30,521.89

$1,344.31

64

Quantum Of Myrtle Beach Llc
4841 Highway 17 Bypass South
Myrtle Beach , SC 29577

$5,746.00

$1,919.45

68

Kple Tv
715 S Jefferson St
Jackson , MS 39201

$287.85

$5.48

70

Wlox Tv
715 S Jefferson St
Jackson , MS 39201

$20,718.75

$394.86

75

Three Eagles Communications Company
4630 Antelope Creek Rd #100
Lincoln , NE 68506

$9,415.28

$1,262.08

102

The Tennessean

C/O Sharon Lucas

Gannett Co Inc - Law Dept
750 Jones Branch Dr
Mclean , VA 72107

$83,548.70

$27,909.43

126

Urban Daddy
900 Broadway 801B
New York , NY 10003

$10,099.99

$192.46

145

Kiro Tv

C/O Ktvu Tv

2 Jack London Sq
Oakland , CA 94607

$63,771.25

$21,302.76

146

Ktvu Tv

2 Jack London Square
Oakland , CA 94607-3727

$352,366.65

$117,708.11

147

Kicu Tv36
2 Jack London Square
Oakland , CA 94607-3727

$36,352.80

$12,143.61

194

John Roberts Graphics Inc
Dba Sir Speedy
7861 Alabama Ave #6

$1,119.39

$150.00

25

26

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Desc

Canoga Park , CA 91304

235

Hrtv Lic
Po Box 22864
Lexington , KY 40522-2864

$986.00

$329.38

252

The News & Observer Publishing
Company Inc

Pob 2885

Raleigh , NC 27602

$23,166.99

$3,105.36

260

Ink Publishing
255 E Paces Ferry Rd Ne
Atlanta , GA 30305

$6,917.00

$2,310.64

283

Berklee Today Magazine
Berklee College Of Music
1140 Boylston St

Boston , MA 02215-3693

$3,200.00

$60.97

293

Tv-22 Wmno

Studio 51 Multi Media Production Ltd
1995 Marion-Bucyrus Rd

Marion , OH 43302

$2,312.00

$101.84

327

Wnno Fm Magnum Communications
PO Box 081400
Racine , WI 53408-1400

$1,433.67

$27.30

328

Wbky Fm Magnum Communications
PO Box 081400
Racine , WI 53408-1400

$1,372.11

$26.16

334

Brightroll, Inc.

343 Sansome Street

Suite 600

San Francisco , CA 94104

$94,731.53

$31,645.07

343

Brightroll, Inc.

343 Sansome Street

Suite 600

San Francisco , CA 94104

$127,795.07

$42,689.93

354

Clear Channel Broadcasting, Inc.
c/o iHeartMedia, Inc.

200 E. Basse Rd., Ste. 100

San Antonio , TX 78209

$725,500.00

$13,826.20

399

Comcast Spotlight Lp
1701 Jfk Blvd
Philadelphia , PA 19103

$74,261.46

$24,807.03

409

Renegade Publishing Inc Dba Urban T
Weekly

Po Box 50499

Tulsa , OK 74150-0499

$1,255.00

$419.25

413

Wtkr-Tv

Communications Credit & Recovery Corp

200 Garden City Plaza Ste 200
Garden City , NY 11530

$3,430.60

$151.12

414

Went-Tv

Communications Credit & Recovery Corp

200 Garden City Plaza Ste 200

$1,887.00

$83.12

25

26

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Desc

Garden City , NY 11530

419

New Age Media Of Tallahassee Llc
Dba Wtlh-Tv, Wtlf-Tv

Doris L Jones Business Mngr

950 Commerce Blvd

Midway , FL 32343

$2,321.35

$775.48

443A

Charge & Ride Inc
47 01 Vernon Boulevard
Long Island , NY 11101

$1,718.69

$1,718.69

446

Kesn Operating Ltd/Espn Dallas 103.

Attn Kathy Clark
500 S Buena Vista St
Burbank , CA 91521-9750

$2,745.50

$917.11

450

Intercept Interactive Inc., dba Und
Undertone c/o Andrew Rausa
Legal Department

340 Madison Ave 8th Fl

New York , NY 10173

$953.17

$318.41

455

Broadview Networks
500 7Th Ave 2Nd FI
New York , NY 10018

$7,170.66

$315.83

479

New York Media Llc
Attn Adelina Pepenella
75 Varick St

New York , NY 10013

$78,238.00

$3,445.98

500

Valassis

Attn: Michelle Pickney
1 Targeting Centre
Windsor , CT 06095

$468,805.68

$8,934.23

502

Hearst Sve Cntr

Attn D Cooke

Div Hearst Communications Inc
214 North Tryon St 33Rd Fir
Charlotte , NC 28202

$26,013.00

$8,689.66

504

Black Entertainment Television Lic
Attn Damien Alexander

1235 W St Ne

Washington , DC 20018

$10,200.00

$1,367.24

507

Complex Media Inc

1271 Avenue Of The Americas 35Th FI

New York , NY 10020

$269,523.20

$5,136.45

526

Adprime Media Inc
Brent Phelps

33 Whitewall St

New York , NY 10004

$70,257.52

$23,469.54

F2

Digilant Inc

c/o Rick Clemon Controller

100 N. Washington St., Ste. 502
Boston , MA 02114

$7,269.11

$2,428.22

F8

Genome Inc F/K/A Interclick Inc
Lawrence Schwab/Thomas

$47,870.00

$912.29

vy

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GAA - Bialson Ber
633 Menlo Ave., Ste. 100
Menlo Park, CA 94025-4711

F15

Videology Group
1500 Whetstone Way
Suite 500

Baltimore , MD 21230

$12,489.86

$238.04

F18

Us Weekly LLC

c/o Dana Rosen

Wenner Media

1290 Avenue of the Americas
New York , NY 10104

$13,758.88

$262.20

F38

Dedicated Media

Communications Credit & Recovery
200 Garden City Plaza Ste 200
Gargen City , NY 11530

$21,529.96

$2,885.98

Total: $391,020.15

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- . 32-1797/1110
-apital Ban :
David K. Gottlieb, Trustee Texas Capital k Dated: 12/13/2019
17000 Ventura Blvd Check Number: 54977 VOID AFTER 90 DAYS
Sulte 300 AMOUNT
Encino, CA 91316
***$391,020.15

***Three Hundred Ninety One Thousand, Twenty Dollars and 15/100

Pay to the Order of Case Number: 13-15929
Estate of: KSL MEDIAANC - Debtors)

U.S. Bankruptcy Court
Attn: Fiscal Department
255 E. Temple Street

Fe Securily features included. Ootails on back.

Room 1067
Los Angeles, CA 90012
Date: 12/13/2019 Check Number: 54977 Amount: $391,020.15

Case Number: 13-15929
Debtor(s) Name: KSL MEDIA INC - Debtor(s)

Paid To: U.S. Bankruptcy Court Trustee: David K. Gottlieb, Trustee
Attn: Fiscal Department 147000 Ventura Blvd
255 E. Temple Street Suite 300
Room 1067 Encino, CA 91316
Los Angeles, CA 90012

Description:

Bank Account: ******1127

Date: 12/13/2019 Check Number: 54977 Amount: $391,020.15

Case Number: 13-15929
Debtor(s) Name: KSL MEDIA INC - Debtor(s)

Paid To: U.S. Bankruptcy Court Trustee: David K. Gottlieb, Trustee
Attn: Fiscal Department 17000 Ventura Blvd
255 E. Temple Street Suite 300
Room 1067 Encino, CA 91316
Los Angeles, CA 90012

Description:

Bank Account: ******1127

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 17000
Ventura Boulevard, Suite 300, Encino, CA 91316.

A true and correct copy of the foregoing document entitled (specify): Report of Trustee Under Rule 3011 will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d): and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.

On December 17, 2019 | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

&] Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On December 17, 2019, | served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

& Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each persc person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on , | served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

CZ Service information continued on attached page.

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

December 17, 2019 Renee Johnson /s/Renee Johnson
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
Case 1:13-bk-15929-MB Doc2705 Filed 12/17/19 Entered 12/17/19 18:19:12 Desc
Main Document Page 8 of 10

ADDITIONAL SERVICE INFORMATION (if needed):

1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

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June 2012 F 9013-3.1.PROOF.SERVICE
Case 1:13-bk-15929-MB Doc2705 Filed 12/17/19 Entered 12/17/19 18:19:12 Desc
Main Document Page 9 of 10

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Thomas Rice —_ trice@coxsmith.com, phuffstickler@coxsmith.com;aseifert@coxsmith.com

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June 2012 F 9013-3.1.PROOF.SERVICE
Case 1:13-bk-15929-MB Doc 2705 Filed 12/17/19 Entered 12/17/19 18:19:12 Desc
Main Document Page 10 of 10

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Susan P Tomlinson —sue.tomlinson@crowehorwath.com

United States Trustee (SV) _ ustpregion16.wh.ecf@usdoj.gov

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2. SERVED BY U.S. MAIL

Office of the U.S. Trustee
915 Wilshire Blvd., Ste. 1850
Los Angeles, CA 91007

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June 2012 F 9013-3.1.PROOF.SERVICE
